 

 

1740 Cofrin Drive Suite 2 * Green Bay, WI 54302
* Phone: (920) 432-5777 * Fax: (920) 432-1918

May 25, 2017

RE: Former Employment with Cash Depot, Ltd.

Dear Hk Ae Ro RE -

Cash Depot recently completed a voluntary wage audit of its payroll records. During the audit,
we discovered that our payroll software had made some errors in the manner in which it had
calculated overtime pay, including during the time that you were employed with Cash Depot.
The errors were not significant but yet Cash Depot wanted to remedy the situation and ensure
that everyone was paid properly.

Although the wage and hour laws only require employers to look back two (2) years when
conducting wage audits, Cash Depot looked back three (3) years and calculated what additional
wages may be due and owing to each employee that was employed with the Company during
that time. In addition to the extra year, we added interest to any wages owed.

During our audit we learned that we may have underpaid you on some overtime compensation.
Based on the audit we determined that we owe you $ (which includes the overtime
compensation plus interest). Cash Depot has elected to increase the amount to $10.00, which is
reflected on the enclosed paycheck. Please understand that we had to issue a payroll check due
to the fact that the monies represent wages that Cash Depot owed you.

We apologize for any error that was made. Cash Depot is confident that it has caught all errors
that may have affected your wages and has made the appropriate adjustments to address any
shortage in compensation.

Please do not hesitate to come to me or Lori Walters at (920) 432-5777 if you have any questions
concerning this correspondence.

Sincerely,

David Charles

EXHIBIT

12

Case 1:16-cv-01637-WC§_ Filed 08/28/17 hge 1 of 1 Document 32-2

   

 
